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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                  )   Criminal No. 23-cr-63(1) (KMM/DJF)
                                           )
                           Plaintiff,      )
        v.                                 )   DEFENDANT'S MOTION FOR
                                           )   CONTINUANCE OF MOTION
VATTHANA ANDY                              )   FILING DATE AND MOTION
SENGSOURIYA,                               )   HEARING
                                           )
                        Defendant.


       Defendant, by and through his attorney, hereby respectfully moves the Court for a

continuance of the presently set date for the filing of motions, March 21, 2023, and the

motion hearing date of April 12, 2023, on the following grounds: the Sherburne County

Jail has had the library and computers closed to inmates due to flooding. Mr. Sengsouriya

has been unable to view the video discovery in his case, and the parties have not had a

meaningful opportunity to discuss a resolution in this matter.

       Pursuant to 18 U.S.C. § 3161(h)(1), the period of continuance should be excluded

from the computation of the Speedy Trial Act.

       For the above reasons, I am requesting that the presently set motion filing date and

motion hearing be continued for 30 days.
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Dated: March 21, 2023                Respectfully submitted,

                                     s/ Jean M. Brandl

                                     JEAN M. BRANDL
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                                     107 U.S. Courthouse
                                     300 South Fourth Street
                                     Minneapolis, MN 55415
